        Case 4:20-mj-00001-RSB Document 1 Filed 01/07/20 Page 1 of 4 Pageid#: 1
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AO91(Rev.11/11) CriminalComplai
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                               U NITED STATES D ISTRICT C OURT                                   JAN âï 2222
                                                      forthe
                                                                                             JULI
                                                                                                A C.                 LERK
                                           W estern DistrictofVirginia                      BY;
                                                                                                DEP           CLERK
              United StatesofAmerica
                          V.
               Antonio LamontJONES                             CmseNo.f'.'/p-YJ--/


                                         CR IM IN AL CO M PLA IN T
        1,thecomplainantin thiscase,statethatthe following istrueto thebestofmy knowledgeand belief.
Onoraboutthedatets)of               November18,2019        inthecounty of              DanvilleCity               inthe
   W estern    Districtof             Virginia     ,thedefendantts)violated:
        CodeSection                                             Of/-
                                                                   enleDescription
21U.S.C.,Section841(a)(1)               Possesswi
                                                thIntenttoDistributeaControlled Substance
18U.S.C.Section922(g)(1)                Possessfirearm afterhavingbeenConvicted ofa CrimePunishableby
                                        lmprisonmentfora term exceeding one year.




        Thiscriminalcomplaintisbased onthesefacts:




        d Continuedontheattachedsheet.
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                                                                               Complainant'
                                                                                          ssignature

                                                                  ChristopherK.Newcomb,ATF Task Force Officer
                                                                                Printedname and title
sw.ra.w2.+<-4œ p.
                o1.V L.,l&.l1y.
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oate: tInluozo
                                                                                  Judge'
                                                                                       ssignature

City andstate:                     Roanoke,VA                      Elizabeth K.Dillon United StatesDistrictJudge
                                                                                Printedname and title
Case 4:20-mj-00001-RSB Document 1 Filed 01/07/20 Page 2 of 4 Pageid#: 2




                      IN TH E UNITED STATES DISTRICT CO URT
                     FOR THE W ESTERN D ISTRICT O F VIRGINIA
                                DAN VILLE DIVISION

U NITED STA TES OF AM ER ICA               )
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                                           )
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                                           )
AN TON IO LA M ON T JON ES                 )
                                                                 Case No.


                       AFFIDAW T IN SUPPO R T O F CRIM IN AL
                       CO M PLA INT A ND AR REST W A RR ANT

      1,ChristopherN ew com b,a Task Force Ofscerw ith the Bureau ofA lcohol,Tobacco,
      FirearmsandExplosives(ATF),W ashingtonFieldDivision,RoanokeFieldOffice,
      having been duly swom ,hereby depose and state as follow s:

                                     W TRODU CTION


2.    lm ake thisaffidavitin supportofa com plaintand arrestwarrantunderRules3,4,
      and 4.1 ofthe FederalRulesofCrim inalProcedure.

      Iam an investigative law enforcem entoftk erofthe United Stateswithin them eaning of
      Section251047)ofTitlel8,UnitedStatesCode,andam empoweredbylaw toconduct
      investigationsand to m ake arrestsforthe offensesenum erated in Section 2516 ofTitle
      18,U nited StatesCode.

4.    SinceM arch2019,IhavebeenswornasaTaskForceOfficer(EçTFO'')withtheBureau
      ofAlcohol,Tobacco,Firearms,andExplosives(:W TF'')withintheW ashingtonField
      Division,Roanoke,V irginia Field O ffice. lhave served w ith the City ofD anville Police
      Departm entin D anville.Virginia since Septem berof2015. During m y tim e asa police
      officer,lhave received training in variousaspects oflaw enforcem ent,including gang
      investigations. Ihave also com pleted theA TF Task Force OfficerTraining Program ,
      which includes:identification offirearm s,identification ofN FA firearm s,seizure of
      firearm s,and firearm sinvestigations.

      lam fam iliarw ith stateand federalfirearm Iaws and have participated in num erous
      firearm srelated investigations,including butnotlim ited to searching forand seizing
      evidence,questioning suspectsand w itnesses,effecting arrests,and exam ining and
      testing variousfirearm s.

6.    Since becom ing a sw orn law enforcem entofficer,in 2015,lhave eitherconducted or
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Case 4:20-mj-00001-RSB Document 1 Filed 01/07/20 Page 3 of 4 Pageid#: 3




      assisted other law enforcem entoftk ers in conducting num erousnarcotics investigations
      thathave resulted in the arrestand conviction ofnum erousindividuals.Iam
      know ledgeable aboutstate and federaldrug law sand have participated in num erous
      investigationsofnarcoticsdistribution. Ihave participated in m any searchesof
      residencesand businessesofsuspected drug traffickers forevidence ofcrim inalactivity.

      The inform ation contained in thisaffidavitisbased on my personalknow ledge ofthis
      investigation,on factsprovided to m eby otherlaw enforcem entofficerswho were
      involved in thisinvestigation,and from docum entsand otherm aterialsreview ed by
      m em bersoflaw enforcem entin furtherance ofthisinvestigation.Ihave notincluded all
      the factsofthisinvestigation,butonly those sufficientto establish probable cause in
      supportofthiscom plaint.


                                       PRO BABLE CAU SE

8.    On Novem ber 18,2019,an investigatorofthe D anville V irginia Police D epartm ent
      (DPD)whileinanoffdutycapacity,observedAntonioLamontJONESattheFoodLion
      store located at540 W estoverDrive,D anville,Virginia,w ithin the W estern D istrictof
      V irginia. This investigatorknew from previousdealingsand investigationsthatJONES
      wasthenafugitivefrom justice.ThisinvestigatorcontactedothermembersoftheDPD
      to alertthem to JONES'presence,and in orderto causethe arrestofJON ES.

      AdditionalD PD lnvestigatorscam e to the Food Lion to assistin apprehending JON ES,
      and im m ediately observed JON ES exiting the Food Lion. DPD lnvestigators
      com m anded JON ES to stop,buthe did notstop;instead he tled on foot. A chase ensued,
      and JON ES wasapprehended nearby.

10.   Searching JONES incidentto hisarrest,DPD lnvestigatorsfound a TaurusM odelPT
      809,9mm pistol,SerialNumber7-Y731347inJONES'rightjacketpocket.Thispistol
      had a m agazine in its m agazinew ell,and around ofam m unition chambered. JONES had
      $271in United Statescurrency onhisperson.

      On the ground,beneath w here JON ES washandcuffed,investigatorsdiscovered aclear
      baggie.lnside thisbaggie,investigators discovered three additional,individually w rapped
      baggies,oneofwhichcontainingapproximately3gramsofsuspectedheroin(fieldtested
      positive),anothercontainingapproximately4gramsofsuspectedcocaine,andthethird
      bagcontainingapproximately0.4gramsofsuspectedcrackcocaine.Additionally,Iaw
      enforcem entdlscovered tw o plastic baggiescontaining an assortm entofsuspected
      prescription m edication.

      JONES wasadvised ofhisrightsunderM iranda,and agreed to w aive these rightsand
      speak to investigators. Thereafter,JON ES adm itted thathe had possessed both the bag
      containing the suspected narcotics,aswellasthe firearm . JON ES furtheradm itted that
      he possessed the narcotics in orderto sellthem ,thathe knew he wasprohibited from

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Case 4:20-mj-00001-RSB Document 1 Filed 01/07/20 Page 4 of 4 Pageid#: 4




         possessing a firearm ,and thathe possessed the fireann forhisprotection.

13.      A search ofthe recordsofthe CircuitCourtforthe City ofD anville determ ined that
         JON ES had previously been convicted ofa crim e punishable by m ore than a yearof
         incarceration,to wit,felony distribution ofcocaine. The Taurus,M odelPT 809,9m m
         pistolfoundinJONES'jacketpocketwasdeterminedtobeafirearm,designedtoexpela
         projectilebymeansofanexplosion,andwasalsobeendeterminedtohavebeen
         m anufactured outside ofthe Com m onweaIth ofVirginia,and therefore to have m oved in
         interstate orforeign com m erce.


                                         CON CLUSION

14.      Based on the aforem entioned factualinform ation and m y training and experience in
         crim inalinvestigations,Isubm itthatprobable cause existsto conclude A ntonio Lam ont
         JON ES did know ingly and willingly possessw ith intentto distribute a controlled
         substanceinviolationof21U.S.C.j841(a)(1),andknowinglypossessedinoraffecting
         com m erce a Grearm afterhaving been convicted ofa crim epunishable by im prisonm ent
         foraterm exceedingoneyearinviolationof18.U.S.C.j922(g)(1).


                                                 C.K.New com b o
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                                                ChristopherNew com b - Task Force Officer
                                           Bureau ofA lcohol,Tobacco,Firearm sand Explosives


SW ORN AND SUBSCRIBED TO BEFORE ME YELCPPOQIO *LX'Y
THls 7*'DAY oF JAN UARY 2020



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